                       IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                          CRIMINAL DOCKET NO.: 3:95CR178

UNITED STATES OF AMERICA            )
                                    )
            vs.                     )
                                    )                                       ORDER
DUANE JELEAL OSBOURNE (12),         )
                                    )
            Defendant.              )
___________________________________ )

        THIS MATTER is before the Court on Defendant’s “Motion to Modify Term of

Imprisonment Pursuant to 18 U.S.C. § 3582(c)(2) Amended United States Sentencing

Guidelines,” filed September 19, 2005, and “Amended Motion to Modify Term of Imprisonment

Pursuant to 18 U.S.C. § 3581(c)(2) Amended United States Sentencing Guidelines,” filed

October 27, 2005.

        On March 16, 1996, a jury convicted Defendant of conspiracy to possess with intent to

distribute cocaine and cocaine base within 1000 feet of a protected location, in violation of 21

U.S.C. §§ 846, 841(a)(1), and 860. This Court, on November 13, 1996, sentenced Defendant to

360 years imprisonment. Judgment was entered December 26, 1996. Subsequently, on May 20,

2002, Defendant filed a Motion to Modify Sentence Pursuant to 18 U.S.C. § 3582(c)(2), which

this Court denied in an Order filed December 24, 2002.

        Now Defendant again asks the Court to modify his sentence pursuant to 18 U.S.C. §

3582(c)(2).1 As argued in his May 20, 2002 Motion, Defendant contends that the enhancement of



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         Defendant makes the same legal argument in both his “Motion to Modify Term of Imprisonment . . .”
and his “Amended Motion To Modify Term of Imprisonment. . . .”

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his sentence pursuant to U.S.S.G. § 2D1.2 was impermissible under Amendment 591 to the

United States Sentencing Guidelines, and asks the Court to retroactively apply Amendment 591.

       For the reasons stated by the Court in its Order dated December 24, 2002, Defendant’s

sentence comports with Amendment 591 and he is not entitled to a modification of his sentence.

       IT IS, THEREFORE, ORDERED that Defendant’s “Motion to Modify Term of

Imprisonment Pursuant to 18 U.S.C. § 3582(c)(2) Amended United States Sentencing

Guidelines,” is hereby DENIED.

       IT IS FURTHER ORDERED that Defendant’s “Amended Motion to Modify Term of

Imprisonment Pursuant to 18 U.S.C. § 3582(c)(2) Amended United States Sentencing

Guidelines” is hereby DENIED.




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                     Signed: December 14, 2005




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